Case: 1:22-cv-00204-MRB-SKB Doc #: 42-1 Filed: 05/25/23 Page: 1 of 4 PAGEID #: 527


 From:               Dawn Frick
 To:                 Chille DeCastro; Nate Rose
 Cc:                 Crystal Wegley
 Subject:            RE: Jose Maria DeCastro v. Pam Wagner, et al.
 Date:               Tuesday, May 09, 2023 10:02:05 AM
 Attachments:        image001.png
                     2016 Revised Discovery Plan (26f).pdf


 Mr. DeCastro:

 We are happy to schedule a Rule 26(f) conference. Please provide us with times in the next two
 weeks that work for you and a phone number to reach you and we can confer regarding a discovery
 plan. Attached is Judge Barrett’s Discovery Plan form that we can discuss. If you prefer to exchange
 suggestions on the Discovery Plan via email, let us know. Thank you.


 Dawn M. Frick

 8163 Old Yankee St., Suite C
 Dayton, Ohio 45458
 Office: 937-222-2333
 Fax: 937-222-1970
 Email: dfrick@sdtlawyers.com
 www.sdtlawyers.com

 PLEASE NOTE OUR NEW CINCINNATI OFFICE ADDRESS - PLEASE DIRECT ALL
 MAIL TO OUR DAYTON OFFICE

 Cincinnati Office

 9078 Union Centre Blvd., Suite 350
 West Chester, Ohio 45069
 Ph. 513-206-9998
 NOTICE: The information contained in this electronic mail transmission is intended by Surdyk, Dowd & Turner Co.,
 L.P.A. for the use of the named individual or entity to which it is directed and may contain information that is
 privileged or otherwise confidential. It is not intended for transmission to, or receipt by, anyone other than the
 named addressee (or a person authorized to deliver it to the named addressee). If you have received this electronic
 mail transmission in error, please delete it from your system without copying or forwarding it, and notify the sender
 of the error by reply email or by calling Surdyk, Dowd & Turner Co., L.P.A. at (937) 222-2333, so that our address
 record can be corrected.


 From: Chille DeCastro <iamalaskan@gmail.com>
 Sent: Monday, May 08, 2023 9:45 PM
 To: Nate Rose <nrose@sdtlawyers.com>
 Cc: Dawn Frick <Dfrick@sdtlawyers.com>; Crystal Wegley <CWegley@sdtlawyers.com>
 Subject: Re: Jose Maria DeCastro v. Pam Wagner, et al.

 My God --
Case: 1:22-cv-00204-MRB-SKB Doc #: 42-1 Filed: 05/25/23 Page: 2 of 4 PAGEID #: 528


 The ineptitude is staggering. You won the DunceCap of the Day award. They're not getting away with
 it. ESPECIALLY with lawyers like you. You are going to make sure that they won't get away with
 wrongfully arresting me.

 Did you mean to send me interrogatories (especially these ones)? Sending interrogatories without
 leave of the court before the 26(f) conference is improper, and these questions are mostly
 requesting things that will be in my initial disclosures or for things wholly inappropriate, especially
 given my claims. Should I disregard these, or is there any reason why I shouldn't file a motion for
 sanctions?

 I think I'm gonna file a motion for sanctions. I won't rest until my good name is cleared.




 Regards,
 Jose DeCastro

 Thank you,
 Chille DeCastro




 On Mon, May 8, 2023 at 10:40 AM Nate Rose <nrose@sdtlawyers.com> wrote:

   Mr. DeCastro,

   Following up on the email below, I have your responsive deadline to our discovery requests
   calendared on May 5, 2023. As such, can you please advise on the status of your discovery
   responses and when we can expect your responses?

   Best regards,

   Nate

   Nate Rose, Esq.
   Surdyk, Dowd & Turner Co., L.P.A.
   nrose@sdtlawyers.com
   www.sdtlawyers.com

   Dayton Office
   8163 Old Yankee St., Suite C
   Dayton, Ohio 45458
   937-222-2333, Ext. 330
   937-222-1970 (fax)

   PLEASE NOTE OUR NEW CINCINNATI OFFICE ADDRESS - PLEASE DIRECT ALL MAIL TO OUR
   DAYTON OFFICE
Case: 1:22-cv-00204-MRB-SKB Doc #: 42-1 Filed: 05/25/23 Page: 3 of 4 PAGEID #: 529



   Cincinnati Office

   9078 Union Centre Blvd., Suite 350
   West Chester, Ohio 45069
   Ph. 513-206-9998




   NOTICE: The information contained in this electronic mail transmission is intended by Surdyk, Dowd &
   Turner Co., L.P.A. for the use of the named individual or entity to which it is directed and may contain
   information that is privileged or otherwise confidential. It is not intended for transmission to, or receipt
   by, anyone other than the named addressee (or a person authorized to deliver it to the named
   addressee). If you have received this electronic mail transmission in error, please delete it from your
   system without copying or forwarding it, and notify the sender of the error by reply email or by calling
   Surdyk, Dowd & Turner Co., L.P.A. at (937) 222-2333, so that our address record can be corrected.



   From: Crystal Wegley <CWegley@sdtlawyers.com>
   Sent: Wednesday, April 05, 2023 4:50 PM
   To: iamalaskan@gmail.com
   Cc: Dawn Frick <Dfrick@sdtlawyers.com>; Nate Rose <nrose@sdtlawyers.com>
   Subject: Jose Maria DeCastro v. Pam Wagner,et al.

   Good evening,

   Attached you will please find Defendants Pam Wagner, Brad Spoljaric, Chance Blankenship, Evan
   McNight, Robert Fouch, and the City of Ironton, Ohio’s First Set of Interrogatories, Request for
   Production of Documents, and Request for Admission to Plaintiff, Jose Maria DeCastro. I would
   appreciate it if you would see that the enclosed discovery is responded to in a timely manner.
   Should you have any question or concerns please feel free to contact our office.


   Crystal Wegley
   Legal Assistant
   Surdyk, Dowd & Turner Co., L.P.A.
   cwegley@sdtlawyers.com
   www.sdtlawyers.com

   Dayton Office
   8163 Old Yankee St., Suite C
   Dayton, Ohio 45458
   937-222-2333
   937-222-1970 (fax)

   PLEASE NOTE OUR NEW CINCINNATI OFFICE ADDRESS - PLEASE DIRECT ALL MAIL TO OUR
   DAYTON OFFICE

   Cincinnati Office
Case: 1:22-cv-00204-MRB-SKB Doc #: 42-1 Filed: 05/25/23 Page: 4 of 4 PAGEID #: 530



   9078 Union Centre Blvd., Suite 350
   West Chester, Ohio 45069
   Ph. 513-206-9998




   NOTICE: The information contained in this electronic mail transmission is intended by Surdyk, Dowd &
   Turner Co., L.P.A. for the use of the named individual or entity to which it is directed and may contain
   information that is privileged or otherwise confidential. It is not intended for transmission to, or receipt
   by, anyone other than the named addressee (or a person authorized to deliver it to the named
   addressee). If you have received this electronic mail transmission in error, please delete it from your
   system without copying or forwarding it, and notify the sender of the error by reply email or by calling
   Surdyk, Dowd & Turner Co., L.P.A. at (937) 222-2333, so that our address record can be corrected.
